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IN THE UNITED STATES DISTRICT COURIO5

31 '/’ §

FOR THE WESTERN DISTRICT OF TENNESSEE`“‘/»/"/!€/

      

 

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EASTERN DIVISION ;,-,z,h /4 aff ‘~-'5
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REGINALD CHARLES, ) -’é’~:g>' 1;1»~{”/;@ 33 39
) w £l{, 1 O/ ,Qi!:r)
Plaimiff, ) "”¢?'€z»§-/`Q?\
) @I.
v. ) No. 04-1255 T/An
)
THE PRoCTER & GAMBLE )
MANUFACTURING Co., )
)
Defendant. )

 

0R1)ER GRANTING MoTIoN FoR MoDIFIcATIoN
oF RULE 16(b) sCHEDULING oRDER

 

Before the Court is Plaintif`f’ s Motion to Amend Scheduling Order filed on May 9, 2005.
For the reasons set forth below, the Motion is GRANTED.

Rule l6(b) of the Federal Rules of Civil Procedure provides that “[a] schedule shall not
be modified except upon a showing of good cause and by leave of the District Judge, or when
authorized by Local Rule, by a Magistrate Judge.”l Fed. R. Civ. P. 16(b). “The primary measure
of Rule lo‘s ‘ good cause’ standard is the moving party’s diligence in attempting to meet the case
management orders and requirements.” Larom'a Inge v. Rock Fz`nanciaf Corp., 281 F.3d 61 3, 625
(6tb Cir. 2002) (citing Bradford v. Dana Corp., 249 F.3d 807, 809 (Sth Cir. 2001)). Af`ter
review, the Court finds that Plaintiff has demonstrated good cause; therefore, the motion is
GRANTED. A trial in this matter is set for March 20, 2006, and the Scheduling Order shall be

modified to reflect the following deadlines:

 

] Pursuant to Administrative Order No. 2003, Motions to Amend Scheduling Order are to be decided by the
Magistrate Judge without a specific order of`reference.

This document entered on the docket sheet in compliance
with Ruie 58 end,'or_'/Q (a) FFICP on 1 2[ 9 15 ` 05

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Discovery Deadline July 15, 2005
Dispositive Motions Deadline August 15, 2005
Final List of Witnesses/Exhibits
For the Plaintiff February 6, 2006
For the Defendant February 15, 2006
Pre-Trial Order March l0, 2006

The other deadlines established in the Rule l6(b) Scheduling Order remain in effect

§§ r'/Z,F;M @.)

s.`i‘HoMAs ANDERSON
UNITED srArEs MAGISTRATE JUDGE

Dat@r %~¢ /fé 2005
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IT IS SO ORDERED.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 22 in
case 1:04-CV-01255 was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

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Honorable J ames Todd
US DISTRICT COURT

